         Case 1:18-cr-00602-WHP Document 48 Filed 07/18/19 Page 1 of 2
                                         U.S. Department of Justice
[Type text]
                                                    United States Attorney
                                                    Southern District of New York
                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007



                                                    July 18, 2019

BY ECF
The Honorable William H. Pauley III
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     United States v. Michael Cohen, 18 Cr. 602 (WHP)

Dear Judge Pauley:

        Pursuant to the Court’s February 7, March 18, and July 17, 2019 orders, the Government
attaches redacted copies of the search warrant materials that were the subject of these orders, as
well as a redacted copy of the Government’s July 15, 2019 status letter. An index of the attached
documents is provided below:

   Exhibit 1 – 18 Mag. 2969. April 8, 2018 application, affidavit, and search warrants for
   four premises and two cellular phones associated with Michael Cohen.

   Exhibit 2 – 18 Mag. 2698. April 9, 2018 application, affidavit, and search warrant for a
   hotel room associated with Michael Cohen.

   Exhibit 3 – 18 Mag. 1696. February 28, 2018 affidavit and search warrants for email
   accounts used by Michael Cohen and three other individuals.

   Exhibit 4 – 18 Mag. 1697. February 28, 2018 application, affidavit, and search warrant for
   a device containing the results of three prior search warrants of email accounts used by
   Michael Cohen.

   Exhibit 5 – 18 Mag. 2877. April 5, 2018 affidavit and search warrant for out of jurisdiction
   attachments from email search warrant included in Exhibit 3.

   Exhibit 6 – 18 Mag. 2958. April 7, 2018 application, affidavit and search warrant for three
   devices containing the results of prior search warrants of email and iCloud accounts used
   by Michael Cohen.

   Exhibit 7 – 18 Mag. 2957. April 7, 2018 application, affidavit and search warrant for
   cellphone location information for two cellular phones used by Michael Cohen.
        Case 1:18-cr-00602-WHP Document 48 Filed 07/18/19 Page 2 of 2
                                                                                         Page 2


   Exhibit 8 – 18 Mag. 2974. April 8, 2018 affidavit and search warrant for cellphone location
   information for two cellular phones used by Michael Cohen.

   Exhibit 9 – Government’s July 15, 2019 status letter.


                                                Respectfully submitted,

                                                AUDREY STRAUSS
                                                Attorney for the United States,
                                                Acting Under Authority Conferred by
                                                28 U.S.C. § 515


                                            By: __________________________
                                               Thomas McKay / Nicolas Roos
                                               Assistant United States Attorneys
                                               (212) 637-2200

cc: Counsel of Record (by ECF)
